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                                IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION


SHANNON COLLEEN PORTER,                       )
                                              )
                   Plaintiff,                 )      CASE NO. 1:16-CV-01258-WTL-MPB
                                              )
         v.                                   )
                                              )
IMC CREDIT SERVICES, INC. d/b/a               )
STATEWIDE CREDIT ASSOCIATION,                 )
INC.,                                         )
                                              )
                   Defendant.                 )

                         JOINT MOTION TO DISMISS WITH PREJUDICE

         Plaintiff, Shannon Colleen Porter, by counsel and Defendant, IMC Credit Services, Inc.

d/b/a Statewide Credit Association, Inc., by counsel, jointly stipulate and move this Court to

dismiss this cause of action against the Defendant with prejudice.

CONSUMER LAW PARTNERS, LLC                        KIGHTLINGER & GRAY, LLP

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